        Case 3:08-cv-00441-TLM Document 319 Filed 01/23/12 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

------------------------------- x
DONGGUK UNIVERSITY,             : No. 3:08-CV-00441 (TLM)
                                :
          Plaintiff,            :
                                :
     v.                         :
                                :
YALE UNIVERSITY,                :
                                :
          Defendant.            : JANUARY 23, 2012
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                                 JOINT STATUS FILING

       Pursuant to the January 18, 2012 Jury Trial Procedure Order, Plaintiff Dongguk

University and Defendant Yale University hereby confirm that there are no pending motions

other than Defendant’s Motion for Summary Judgment [Rec. Doc. 249] and Defendant’s

Motions in Limine [Rec. Docs. 288 and 291].



PLAINTIFF DONGGUK UNIVERSITY                    DEFENDANT YALE UNIVERSITY

By:       /s/ Audrey Lu                         By:        /s/ Howard Fetner
       Robert A. Weiner                                Felix J. Springer (#ct05700)
       Audrey Lu                                       Howard Fetner (#ct26870)
       McDermott Will & Emery                          Day Pitney LLP
       340 Madison Avenue                              242 Trumbull Street
       New York NY 10173                               Hartford, CT 06103
       (212) 547-5400 (phone)                          (860) 275-0100 (phone)
       (212) 547-5444 (fax)                            (860) 275-0343 (fax)
       rweiner@mwe.com                                 fjspringer@daypitney.com
       aulu@mwe.com                                    hfetner@daypitney.com

       Its attorneys                                   Its attorneys
         Case 3:08-cv-00441-TLM Document 319 Filed 01/23/12 Page 2 of 2



                                       CERTIFICATION

        I hereby certify that on January 23, 2012, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.




                                                        /s/ Howard Fetner




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